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      Attorney for Objectors MS. LESBI MARTINEZ-MARTINEZ
    6 and MS. EGLA VELASQUEZ MOLINA
    7
    8                        UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF CALIFORNIA
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   11   M.M.M., on behalf of his minor child,
        J.M.A., et al.,
   12
                     Plaintiff,
   13
               v.                                        No. 3:18-cv-01832-DMS
   14
        JEFFERSON BEAUREGARD SESSIONS, III,
   15   Attorney General of the United States, et al.,
   16                Defendants.
   17
   18                                                    No. 3:18-cv-00428-DMS
        MS. L., et al.,
   19                Plaintiffs,                         CLASS ACTION

   20          v.                                        SUPPLEMENTAL STATUS
        U.S. IMMIGRATION AND CUSTOMS                     REPORT OF OBJECTORS
   21
        ENFORCEMENT (“ICE”), et al.,                     LESBI MARTINEZ-
   22                                                    MARTINEZ AND EGLA
                     Defendants.                         VELASQUEZ MOLINA
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        Joint Status Report                                  Case No: 18-cv-00428-DMS
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    1         Pursuant to the Court’s instructions at the November 15, 2018 Fairness
    2 Hearing on the Class Action Settlement, Objectors Lesbi Nohemi Martinez-
    3 Martinez and Egla Velasquez Molina hereby submit their Supplemental Status
    4
      Report to the Court. Ms. L., et al. v. ICE, et al., Case No. 18-cv-0428 (S.D. Cal.).
    5
      At that hearing, the Court denied Ms. Martinez’s and Ms. Velasquez Molina’s
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      Objections without prejudice, ordered them to meet and confer with counsel for
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      Defendants to seek an agreement to resolve their claims, and noted, “if there is
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      no agreement I would invite the parties to propose to the Court how it ought to be
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   10 addressed, either in this case or the Ms. L. case or before Judge Friedman.” Ms.
   11 L., ECF 322.
   12
   13         On November 29, 2018, Objectors Martinez and Velasquez Molina advised
   14 this Court that they had been unable to reach agreement with the Defendants on
   15 the administration of de novo credible fear interviews and that they would accept
   16 the Court’s invitation to pursue the merits of their claims before this Court. Ms.
   17
        L., ECF 328. Since Objectors filed their Status Report on November 29, counsel
   18
        for Objectors have met and conferred with counsel for the Parties in these cases to
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        further discuss issues related to the most appropriate forum for resolution of
   20
        Objectors’ claims on the merits. Based on those discussions, Objectors Martinez
   21
        and Velasquez Molina will pursue the merits of their claims in the actions that
   22
   23 are currently pending before Judge Paul L. Friedman in the United States District
   24 Court for the District of Columbia and will proceed no further before this Court.
   25 Objectors hereby withdraw, without prejudice, their November 29, 2018 Status
   26 Report in these actions. Objectors appreciate the Court’s consideration.
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        Joint Status Report                                    Case No: 18-cv-00428-DMS
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    1 DATED: December 5, 2018        KING & SPALDING LLP
    2
    3                                By: /s/ Martin M. McNerney ____
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                                         Ms. Lesbi Martinez-Martinez and
   10                                    Ms. Egla Velasquez Molina
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        Joint Status Report                             Case No: 18-cv-00428-DMS
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    1                           CERTIFICATE OF SERVICE
    2         I hereby certify that I have this 5th day of December, 2018, served a copy of
    3 the foregoing via the Court’s CM/ECF on all counsel of record..
    4
                                               /s/ Martin M. McNerney
    5                                         Martin M. McNerney (pro hac vice)
    6                                         KING & SPALDING LLP

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        Joint Status Report                                   Case No: 18-cv-00428-DMS
